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                                                                  8

                                                                  9                           UNITED STATES BANKRUPTCY COURT

                                                                 10                             CENTRAL DISTRICT OF CALIFORNIA

                                                                 11                                    LOS ANGELES DIVISION
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                                                                 12 In re                                             Case No. 2:20-bk-21022-BR
                               Costa Mesa, California 92626




                                                                 13 GIRARDI KEESE,                                    Chapter 7

                                                                 14                                                   STIPULATION REGARDING
                                                                                                                      DISTRIBUTION OF XARELTO
                                                                 15                                                   SETTLEMENT PAYMENT TO CLIENT
                                                                                                    Debtor.           (C. GARIBALDI)
                                                                 16
                                                                                                                      [No Hearing Required]
                                                                 17

                                                                 18   TO THE HONORABLE BARRY RUSSELL, UNITED STATES BANKRUPTCY JUDGE:

                                                                 19           Elissa D. Miller, the chapter 7 trustee of the bankruptcy estate of Girardi Keese

                                                                 20 (the "Trustee"), Archer Systems, LLC ("Archer"), and C. Garibaldi (the "Client"), through

                                                                 21 their attorneys, enter into this Stipulation Regarding Distribution of Xarelto Settlement

                                                                 22 Payment to Client (C. Garibaldi) (the "Stipulation") and stipulate as follows:

                                                                 23

                                                                 24                                            RECITALS

                                                                 25           A.    On December 18, 2020 (the "Petition Date"), an involuntary chapter 7

                                                                 26 bankruptcy petition ("Petition") was filed against Girardi Keese ("Debtor"). As of the filing

                                                                 27 of the involuntary petition, Debtor was counsel of record in a significant number of

                                                                 28 matters which were undertaken on a contingency basis.


                                                                      2882049.1                                      1                                STIPULATION
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                                                                  1           B.     The petitioning creditors moved for the appointment of an interim trustee

                                                                  2 which was granted by the Court by order entered January 5, 2021. The Trustee was

                                                                  3 appointed as the interim chapter 7 trustee on January 6, 2021. The order for relief was

                                                                  4 entered January 13, 2021 and, the same date, the Trustee was reappointed and has

                                                                  5 been serving in that capacity since.

                                                                  6           C.     Prior to the Petition Date, the Debtor was retained by the Client as the

                                                                  7 representative of A. Garibaldi (the "Claimant") in connection with an action pending in the

                                                                  8 U.S. District Court, Eastern District of Louisiana entitled In re: Xarelto (Rivaroxaban)

                                                                  9 Products Liability Litigation, MDL 2592. The case has settled and the Claimant has been

                                                                 10 awarded a settlement from the Xarelto Qualified Settlement Fund. Archer is the Lien

                                                                 11 Resolution Administrator for the Xarelto Settlement Program and is responsible for
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                                                                 12 distributing the funds from the Xarelto Qualified Settlement Fund to the claimants. The
                               Costa Mesa, California 92626




                                                                 13 Claimant is deceased and the Client is his surviving spouse.

                                                                 14           D.     Pursuant to the fee agreement, the Debtor was to receive a percentage of

                                                                 15 the gross settlement payments, plus reimbursement of costs.

                                                                 16           E.     In July 2020, the Debtor received a payment of $15,026.98 (the "First

                                                                 17 Payment"). That payment was to be disbursed according to the terms of the retention

                                                                 18 agreement. The Trustee believes that the Debtor, however, failed to remit any portion of

                                                                 19 this payment to the Client.

                                                                 20           F.     Archer is currently holding an additional payment on account of the claim of

                                                                 21 the Client in the amount of $3,589.87 (the "Second Payment"). The amount of the

                                                                 22 Second Payment is less than the total amount the Client would have received had the

                                                                 23 Client received the balance due to the Client from the First Payment combined with the

                                                                 24 balance due to the Client from the Second Payment.

                                                                 25                                               STIPULATION

                                                                 26           In light of the foregoing, the parties stipulate as follows:

                                                                 27           (1)    Archer is authorized and directed to remit the Second Payment to the

                                                                 28 Trustee;


                                                                      2882049.1                                        2                              STIPULATION
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 3200
Park Center Drive, Suite 250, Costa Mesa, CA 92626.
 A true and correct copy of the foregoing document entitled (specify): STIPULATION REGARDING DISTRIBUTION
OF XARELTO SETTLEMENT PAYMENT TO CLIENT (C. GARIBALDI) will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 2, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) February 2, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


The Honorable Barry Russell
U.S. Bankruptcy Court
Roybal Federal Building
255 E. Temple Street, Suite 1660
Los Angeles, CA 90012
                                                                                          Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)__________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                          Service information continued on attached page.




I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 2, 2022                          Gabriela Gomez-Cruz                                   /s/ Gabriela Gomez-Cruz
 Date                                      Printed Name                                          Signature




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June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):




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